                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                        CENTRAL DIVISION
                                           FRANKFORT

                                                   )
COMMONWEALTH OF KENTUCKY, et                       )
al.,                                               )
                                                   )         Civil No. 3:21-cv-00055-GFVT
          Plaintiffs,                              )
                                                   )
v.                                                 )                     ORDER
                                                   )
JOSEPH R. BIDEN, in his official capacity          )
as President of the United States, et al.,         )
                                                   )
          Defendants.
                                            *** *** *** ***

            This matter is before the Court on a Notice filed by Plaintiffs following Defendants’

     Emergency Motion to Stay Pending Appeal. [R. 54.] On November 30, 2021, the Court issued

     its opinion and order granting Plaintiffs’ preliminary injunction. [R. 50.] Three days later, after

     the close of business on December 3, Defendants filed a Motion for Emergency Stay Pending

     Appeal. [R. 53.] Plaintiffs now request the opportunity to file a response by the end of

     Wednesday, December 8. [R. 54.]

            Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

     follows:

            1.   Plaintiffs shall have until the end of Wednesday, December 8, 2021, to file a

                 response to Defendants’ Emergency Stay Pending Appeal; and

            2. Defendants shall have until the end of Friday, December 10, 2021, to file a reply to

                 Plaintiffs’ response.

     This the 6th day of December, 2021.
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